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 1   DANIEL BRODERICK, Bar # 89424
     Federal Defender
 2   NED SMOCK, Bar # 236238
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   JAMEL GILL
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   No. CR-S-07-126 EJG
                                        )
12                     Plaintiff,       )
                                        )   STIPULATION AND ORDER
13        v.                            )
                                        )
14   ALICE PETERSON,                    )   Date: September 14, 2007
     JAMEL GILL, and                    )   Time: 10:00 A.M.
15   JAVON GILL                         )
                                        )   Judge: Hon. Edward J. Garcia
16                                      )
                    Defendant.          )
17   _______________________________
18
          IT IS HEREBY STIPULATED by and between the parties hereto through
19
     their respective counsel, JILL THOMAS, Assistant United States
20
     Attorney, attorney for Plaintiff; CANDACE FRY, attorney for defendant
21
     ALICE PETERSON; NED SMOCK, Assistant Federal Defender, attorney for
22
     defendant JAMEL GILL; and SHARI RUSK, attorney for defendant JAVON
23
     GILL, that the status conference now scheduled for August 24, 2007 be
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     vacated and a new date of September 14, 2007 be set for status.
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          The defense is reviewing existing discovery, which includes
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     lengthy audio and video recordings, and is expecting to receive
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     additional discovery from the government.       The defense needs additional
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 1   time to review that discovery and to perform necessary investigation.
 2        It is stipulated and agreed between the parties that the period
 3   beginning August 24, 2007 to September 14, 2007 should be excluded in
 4   computing the time within which the trial of the above criminal
 5   prosecution must commence for purposes of the Speedy Trial Act for
 6   defense preparation.       All parties stipulate and agree that this is an
 7   appropriate exclusion of time within the meaning of Title 18, United
 8   States Code, Section 3161(h)(8)(iv) (Local Code T4).
 9
10   Dated: August 22, 2007                    Respectfully submitted,
11                                             DANIEL BRODERICK
                                               Federal Defender
12
13                                             /s/NED SMOCK
                                               NED SMOCK
14                                             Assistant Federal Defender
                                               Attorney for Defendant
15                                             JAMEL GILL
16                                             /s/Ned Smock for CANDACE FRY
                                               CANDACE FRY
17                                             Attorney for Defendant
                                               ALICE PETERSON
18
                                               /s/Ned Smock for SHARI RUSK
19                                             SHARI RUSK
                                               Attorney for Defendant
20                                             JAVON GILL
21
                                               MCGREGOR W. SCOTT
22                                             United States Attorney
23   Dated:    August 22, 2007                 /s/ Ned Smock for Jill Thomas
                                               JILL THOMAS
24                                             Assistant U.S. Attorney
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           Case 2:07-cr-00126-WBS Document 42 Filed 08/23/07 Page 3 of 3


 1                                    **********
 2                                        ORDER
 3       IT IS SO ORDERED.
 4   DATED:__August 22, 2007______________
 5                                         /s/ Edward J. Garcia
                                           HONORABLE EDWARD J. GARCIA
 6                                         District Court Judge
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